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Attorney for Defendant United States

              IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF ALASKA


 SOUTHEAST ALASKA                      )   Case No. 3:18-cv-00300-SLG
 REGIONAL HEALTH                       )
 CONSORTIUM,                           )
                                       )
                   Plaintiff,          )   STIPULATED
                                           RECALCULATION OF
                                       )
        vs.                                DEADLINE TO FILE ANSWER
                                       )
 CHRISTOPHER MANDREGAN,                )
 JR., Director, ALASKA AREA            )
 NATIVE HEALTH SERVICE,                )
 MICHAEL WEAHKEE, Acting               )
 Director, INDIAN HEALTH               )
 SERVICE; ALEX AZAR,                   )
 Secretary of the U.S.                 )
 DEPARTMENT OF HEALTH                  )
 AND HUMAN SERVICES, and               )
 UNITED STATES OF AMERICA,             )
                                       )
                   Defendant.
                                       )
                                       )




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      Due to the recent United States government shutdown, and pursuant

to the Court’s Miscellaneous General Order No. 19-01, the parties to the

above-captioned matter, through counsel, stipulate to recalculate the

deadline for the filing of the Answer, from March 5, 2019, to April 23, 2019.

Service of process on Defendant was accomplished January 4, 2019, during

the shutdown.

      In keeping with MGO 19-01, the recalculated deadline reflects an

extension of 49 days (the length of the shutdown, from December 22, 2018

through January 25, 2019, plus fourteen days).

      RESPECTFULLY SUBMITTED this 7th day of February, 2019, in

Anchorage, Alaska.

                                          BRYAN SCHRODER
                                          United States Attorney


                                          s/Richard L. Pomeroy
                                          RICHARD L. POMEROY
                                          Assistant U.S. Attorney
                                          United States of America

                                          Sonosky, Chambers, Sachse,
                                          Miller & Monkman, LLP


                                          s/Rebecca A. Patterson (consent)
                                          REBECCA A. PATTERSON
                                          Attorney for Plaintiff

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CERTIFICATE OF SERVICE

I hereby certify that on February 7, 2019,
a true and correct copy of the foregoing
was served electronically on the following:

Rebecca A. Patterson

s/Richard L. Pomeroy
 Office of the U.S. Attorney




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